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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND


MARYLAND CHAPTER OF THE SIERRA
CLUB, et al.,
              Plaintiffs,

      v.                                             Civil Action No. DKC 22-2597

FEDERAL HIGHWAY
ADMINISTRATION, et al.,

                  Defendants.
__________________________________________

NORTHERN VIRGINIA CITIZENS’
ASSOCIATION,

                  Plaintiff,

      v.                                             Civil Action No. DKC 22-3336

FEDERAL HIGHWAY
ADMINISTRATION, et al.,

                  Defendants.


     FEDERAL DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
    CROSS-MOTION FOR SUMMARY JUDGMENT AND OPPOSITION TO
          PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT
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                                   Table of Acronyms

AADT               Average Annual Daily Traffic

CAA                Clean Air Act

CO                 Carbon Monoxide

DEIS               Draft Environmental Impact Statement

EIS                Environmental Impact Statement

EJ                 Environmental Justice

FEIS               Final Environmental Impact Statement

FHWA               Federal High Administration

GHG                Greenhouse Gas

HOT                High-Occupancy Toll

MDOT SHA           Maryland Department of Transportation, State Highway Administration

MSAT               Mobile Source Air Toxics

NAAQS              National Ambient Air Quality Standards

NEPA               National Environmental Policy Act

NPDES Permit       National Pollution Discharge Elimination System General Permit

NVCA               Northern Virginia Citizens Association

PM2.5              Particulate Matter 2.5

P3                 Public-Private Partnership Program

ROD                Record of Decision

SDEIS              Supplemental Draft Environmental Impact Statement

VDOT               Virginia Department of Transportation




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                                       INTRODUCTION

       By almost any metric, traffic on the Capital Beltway and I-270 is some of the worst in the

country. In fact, the National Capital Region is the most congested region in the nation based on

delay and congestion data per auto commuter. To alleviate some of that traffic burden, the

Federal High Administration (“FHWA”) and the Maryland Department of Transportation, State

Highway Administration (“MDOT SHA”) (together, the “agencies”) initiated the Managed

Lanes Study (“the Study” or “Project”) over five years ago.

       The need of the Project is clear: with forecasts showing continued population growth,

employment, and travel demand increases throughout the area, these problems will not go away

without action. On top of those traffic needs is required infrastructure replacement, including the

sixty-year-old American Legion Bridge which will likely need replacement in the near future.

And so, the agencies conducted the study to address congestion, improve trip reliability on I-495

and I-270, and enhance existing and planned multimodal mobility and connectivity. By

addressing those concerns, the Project would improve the movement of people and goods

throughout the area and ensure homeland security needs are met.

       Because the Managed Lanes Study is federally funded, the Project must comply with

federal environmental protection and historic preservation laws, including: the National

Environmental Policy Act, 42 U.S.C. § 4332(C) (“NEPA”); Section 4(f) of the Department of

Transportation Act of 1966, 49 U.S.C. § 303(c); and Section 106 of the National Historic

Preservation Act, 16 U.S.C. § 470f. To fulfil their obligations with those laws, FHWA, as the

Lead Federal Agency, and MDOT SHA, as the co-lead agency and Local Project Sponsor,

studied the community, natural, cultural, and other environmental impacts of the Project. They

strove to avoid and minimize the impacts wherever possible and mitigate for these unavoidable



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impacts at an equal or greater value. Throughout the process, the agencies worked with federal,

state, and local resource agency partners to meet all regulatory requirements and ensure the

protection of significant environmental resources. And to ensure the local communities’

viewpoints were heard and incorporated into the Project, the agencies conducted extensive public

outreach. The culmination of those efforts was the Final Environmental Impact Statement

(“FEIS”) and FHWA’s approval of the Project in the Record of Decision (“ROD”).

       Plaintiffs now challenge the adequacy of the agencies’ years-long environmental review.

They allege that FHWA violated NEPA by failing to adequately review air pollution and

environmental justice (“EJ”) impacts and ignoring traffic model concerns. And a single

Plaintiffs’ group—the Northern Virginia Citizens Association (“NVCA”)—alleges a violation of

NEPA for failing to re-study impacts of a separate project following minor design changes.

Various Plaintiffs also challenge the agencies’ compliance with Section 4(f) of the Department

of Transportation Act and Section 106 of the National Historic Preservation Act. They allege the

agencies improperly deferred their study of potential impacts to the Morningstar Tabernacle 88

Moses Hall and Cemetery (“Morningstar Cemetery”), and improperly dismissed an alternative

alignment of the American Legion Bridge that would have avoided Plummers Island in the

Potomac.

       Plaintiffs’ NEPA challenges all fail. First, NVCA lacks standing to bring its claims. The

injuries it alleges are all traceable to a separate project already under construction in another

state, for which its members already sought redress in the Eastern District of Virginia. This Court

cannot grant them the relief they seek.

       Second, Plaintiffs’ challenges to FHWA’s air quality analysis are not legally sound.

FHWA reasonably relied on the public health standards for pollutants set by the Environmental



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Protection Agency when it considered the potential air quality impacts from the Project. Contrary

to Plaintiffs’ contentions, NEPA does not require the hyper-localized modeling for areas that are

well within attainment of the EPA standards.

       Third, FHWA took the required hard look at EJ concerns, and Plaintiffs cannot show

otherwise. FHWA followed its guidance on EJ reviews, and ensured all potential EJ

communities were identified and impacts were considered. The record supports FHWA’s

findings that impacts would be felt equally along the entire Project corridor, and therefore no

“disproportionately high and adverse” effects on minority and low-income communities resulted

from the Project.

       Fourth, Plaintiffs’ technical criticism of the traffic model amounts only to a disagreement

between experts. FHWA and MDOT SHA possess expertise in the area of traffic modeling, and

the agencies relied on those experts in ensuring the models’ accuracy and in responding to

criticism. And while Plaintiffs complain that they did not have every piece of data in their

preferred format, the agencies made sure that the data necessary for the public to check their

work was reasonably available.

       Finally, Plaintiffs’ Section 4(f) and Section 106 claims miss the mark. As to the

Morningstar Cemetery, Plaintiffs confuse and conflate the statutory requirements and fail to

show any deficiency in the process. And as to Plummers Island, they merely nitpick the

agencies’ well supported decision to choose a bridge alignment that would avoid more

parkland—and a residential property—rather than their preferred alternative.

       In sum, Plaintiffs’ allegations do not undermine the agencies good work. As supported by

the record, FHWA and MDOT SHA thoroughly considered the Project’s impacts, allowed for

full public participation, considered and responded to opposing viewpoints, and followed the



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statutory and regulatory mandates. The result was a well-supported FEIS. The Court should

therefore grant summary judgment for Federal Defendants.

                                   LEGAL BACKGROUND

I.     The National Environmental Policy Act

       NEPA requires federal agencies to consider the impacts of, and alternatives to, federal

actions significantly affecting the environment. 42 U.S.C. §§ 4321, 4331. The goal of NEPA is

“to promote efforts which will prevent or eliminate damage to the environment and biosphere

and stimulate the health and welfare of man.” 42 U.S.C. § 4321. Its specific purpose “is to

sensitize all federal agencies to the environment in order to foster precious resource

preservation.” Nat’l Audubon Soc’y v. Dep’t of Navy, 422 F.3d 174, 184 (4th Cir. 2005). To

promote that purpose, “NEPA mandates a set of ‘action-forcing’ procedures that require that

agencies take a ‘hard look’ at environmental consequences.” Defs. of Wildlife v. N.C. Dep’t of

Transp., 762 F.3d 374, 393 (4th Cir. 2014) (quoting Robertson v. Methow Valley Citizens, 490

U.S. 332, 350-51 (1989)) (cleaned up). It also “requires an agency to disseminate widely its

findings on the environmental impacts of its actions.” Nat’l Audubon Soc’y, 422 F.3d at 184.

       For any “major Federal actions significantly affecting the quality of the human

environment,” the agency must prepare an Environmental Impact Statement (“EIS”). Friends of

Back Bay v. U.S. Army Corps of Eng’rs, 681 F.3d 581, 584 (4th Cir. 2012). An EIS is legally

sufficient if it “provide[s] the decision-makers with sufficient information of the environmental

consequences of their action so that they can make a reasoned decision.” Nat’l Ctr. for Pres. L. v.

Landrieu, 496 F. Supp. 716, 737 (D.S.C.), aff’d, 635 F.2d 324 (4th Cir. 1980). But “NEPA does

not require maximum detail. Rather, it requires agencies to make a series of line-drawing

decisions based on the significance and usefulness of additional information.” Tinicum Twp., Pa.



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v. U.S. Dep’t of Transp., 685 F.3d 288, 296 (3d Cir. 2012) (citing Coal. on Sensible Transp. Inc.

v. Dole, 826 F.2d 60, 66 (D.C. Cir. 1987)).

        Although NEPA establishes the procedures by which agencies must consider

environmental impacts, it does not dictate substantive results. Robertson, 490 U.S. at 350. “If the

adverse environmental effects of the proposed action are adequately identified and evaluated, the

agency is not constrained by NEPA from deciding that other values outweigh the environmental

costs.” Id. (citations omitted). For this reason, “[c]ourts should not second-guess agency

decisions, so long as the agency has given a hard look at the environmental impacts of its

proposed action.” Nat’l Audubon Soc’y, 422 F.3d at 199. This is true even if the court disagrees

with the “necessity or wisdom of the proposed action.” Id. The court’s “role is not to flyspeck an

agency’s environmental analysis, looking for any deficiency no matter how minor.” WildEarth

Guardians v. Jewell, 738 F.3d 298, 319 (D.C. Cir. 2013) (quotations omitted).

II.     Section 4(f) Of The Department Of Transportation Act

        Department of Transportation Act Section 4(f) applies to highway projects that “requir[e]

the use of publicly owned land of a public park . . . or land of an historic site of national, State, or

local significance . . .” 49 U.S.C. § 303(c); accord 23 U.S.C. § 138(a). FHWA may approve

projects that make more than a de minimis “use” of those resources only where “(1) there is no

prudent and feasible alternative” and (2) “the program or project includes all possible planning to

minimize harm to the . . . [resource] resulting from the use.” 49 U.S.C. § 303(c).

        If there are no feasible and prudent alternatives to using Section 4(f) property, the

Secretary may select only the alternative that “[c]auses the least overall harm in light of [Section

4(f)’s] preservation purpose.” 23 C.F.R. § 774.3(c)(1).




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        When reviewing Section 4(f) approvals, courts take a “hard look” at whether the facts

supported the Secretary’s decision. Hickory Neighborhood Def. League v. Skinner, 893 F.2d 58,

61 (4th Cir. 1990). Although courts “must conduct a ‘thorough, probing, in depth review’ to

ensure that the Secretary’s determination complies with Section 4(f)’s requirements,” Defs. of

Wildlife, 762 F.3d at 401 (quoting Monroe Cnty. Conservation Council, Inc. v. Volpe, 472 F.2d

693, 700 (2d Cir. 1972)), the agency’s Section 4(f) determination “is entitled to a presumption of

regularity.” Citizens to Pres. Overton Park, Inc. v. Volpe, 401 U.S. 402, 415 (1971).

III.    Section 106 Of The National Historic Preservation Act

        Under Section 106 of the National Historic Preservation Act (“NHPA”), before a federal

agency approves federal funding or issues a license, the agency must “take into account the

effect of the undertaking on any historic property.” 54 U.S.C. § 306108. “Unlike Section 4(f),

Section 106 is essentially a procedural statute and does not impose a substantive mandate on the

FHWA.” Valley Cmty. Pres. Comm’n v. Mineta, 373 F.3d 1078, 1085 (10th Cir. 2004).

        To comply with Section 106, the agency must first “make a reasonable and good faith

effort” to identify historic proprieties. 36 C.F.R. § 800.4(b)(1). Once the properties are identified,

the agencies must determine whether there will be any “adverse effects” to those properties, id.

§ 800.5(a), and consider alternatives or modifications to avoid, minimize, or mitigate any

adverse effects identified, id. § 800.6(a). A Programmatic Agreement may be used “to govern

. . . the resolution of adverse effects from certain complex project situations.” Id. § 800.14(b).

                                  FACTUAL BACKGROUND

I.      The I-495 & I-270 Managed Lanes Study

        In an effort to reduce severe congestion within the National Capital Region, FHWA and

the MDOT SHA started the Study over five years ago. AR 242; AR 267. The agencies started the



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review process when they issued a notice to advise the public of their intention to prepare an EIS.

AR 55593-94.

       The Project is part of the broader Public-Private Partnership Program (“P3 Program”), a

partnership between the government sector and private entities. AR 35751. The P3 Program is an

“innovative finance method” that taps into private expertise to improve all phases of the Project,

including the “design, build, finance, operate, and maintain the proposed infrastructure.” AR

35767. The P3 Program makes large-scale improvements, such as those in this Project,

financially viable. AR 35767.

       The scope of the Study travels I-495 from south of the George Washington Memorial

Parkway in Fairfax County, Virginia, ending just west of MD 5 in Prince George’s County,

Maryland. Along that stretch spanning the Potomac River is the American Legion Bridge, a 60-

year-old bridge badly needing replacement. The Study also moves along I-270, from the I-495

interchanges, including the east and west I-270 spurs, to north of I-370 in Montgomery County,

Maryland. AR 4. I-495 and I-270 are the two most heavily traveled freeways in Maryland, each

with an Average Annual Daily Traffic (AADT) volume up to 260,000 vehicles per day in 2018.

AR 4. The Study looks at alternatives that would address road congestion and improve trip

reliability along that forty-eight-mile corridor. See AR 35732.

II.    The 2020 Draft Environmental Impact Statement

       FHWA and the MDOT SHA published the Draft Environmental Impact Statement

(“DEIS”) on July 10, 2020. Fifteen preliminary alternatives were initially identified and seven

alternatives, including a No Build Alternative, were retained for detailed study. See

AR 35768-69.




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        The DEIS included a thorough examination of the alternatives and the potential impacts

to resources: historic, architectural, and archeological resources as required by Section 106 of the

NHPA, see AR 35872; air quality impacts, including the Project’s effects on criteria pollutants

per National Ambient Air Quality Standards (“NAAQS”), see AR 35895; and impacts to EJ

communities as outlined Executive Order 12898, see AR 35957. Nineteen technical reports

(including reports on community effects and air quality impacts) accompanied the DEIS,

documenting “existing conditions, methodologies, assessments of effects, and conceptual

mitigation.” AR 35735.

        All the build alternatives included full replacement of the American Legion Bridge with a

new, wider bridge. AR 35743. “The existing bridge is nearly 60 years old and would need to be

replaced sometime over the next few decades regardless of the Study. The new bridge would be

constructed in phases to maintain the same number of existing lanes at all times, and therefore

the new bridge will be replaced in the same existing location.” AR 35743.

        After publication, FHWA and MDOT SHA provided 90 days for public comment—twice

the minimum required by FHWA, which the agencies extended an additional 30 days. AR 35.

During this four-month comment period, the agencies received close to 3,000 comments from

the public, community partners, stakeholders, and local and federal officials. AR 35-36; 613.

III.    The Preferred Alternative

        In May 2021, after publishing the DEIS, the agencies identified Alternative 9 – Phase 1

South, as the “Preferred Alternative” for the Study. See AR 248. The Preferred Alternative is a

fifteen-mile stretch of I-495 and I-270 between McLean, Virginia, and Gaithersburg, Maryland.

The Preferred Alternative adds two high-occupancy toll (“HOT”) managed lanes in each

direction on I-495 from the George Washington Memorial Parkway in Virginia to east of MD



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187 on I-495, and on I-270 from I-495 to north of I-370 and on the I-270 eastern spur from east

of MD 187 to I-270. AR 27377.

       The Preferred Alternative

includes not only road

improvements, but also transit

investment and new pedestrian and

bicycle facilities. AR 296-98; 299;
                                         MLS Preferred Alternative – AR 266
312-13. The transit opportunities

will include “free bus transit usage of the HOT managed lanes” which will increase the travel

speed and trip reliability. AR 296. There also will be direct and indirect connections to other

transit stations. Id. Existing bike and pedestrian routes that will be impacted by the Project will

be replaced in kind or upgraded. Id. The agencies have also committed to constructing a new

pedestrian and bicycle lane across the America Legion Bridge and constructing a new sidewalk

to reestablish the historic connection between First Agape AME Zion Church (“Gibson Grove

Church”) and Morningstar Cemetery. AR 313.

IV.    The 2021 Supplemental Draft Environmental Impact Statement

       The agencies published the Supplemental Draft Environmental Impact Statement

(“SDEIS”) on October 1, 2021. AR 27360. The SDEIS was prepared to consider new

information developed after the DEIS was published. Id. That new information was primarily the

selection of the Project’s Preferred Alternative, and the Study’s focus was correspondingly

reduced to the Preferred Alternative. In addition, the SDEIS updated “measures to avoid,

minimize, and mitigate potential environmental effects, where applicable.” AR 27365. Those

measures included the following: avoiding and significantly reducing property, community,



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historic, natural resources and parkland impacts; avoiding impacts to Morningstar Cemetery; and

avoiding all residential and business displacements. See AR 27362.

       The initial comment period for the SDEIS lasted for 60 days, and the agencies extended

the comment period by fifteen days based on public and stakeholder requests. AR 242.

V.     The 2022 Final Environmental Impact Statement

       The FEIS was published on June 17, 2022. AR 243. It presented final, updated analyses

for environmental impacts related to the Preferred Alternative. AR 246. Twenty-one final

technical reports support the FEIS, including a Final Traffic Analysis Technical Report, Final

Community Effects Assessment & Environmental Justice Technical Report, Final Air Quality

Technical Report, and Final Avoidance, Minimization, and Impacts Report. See AR 246.

       The Final Section 4(f) Evaluation accompanied the FEIS and included a final

determination that the Project addressed “all possible planning to minimize harm to the Section

4(f) properties.” AR 532. As part of the analysis, the Section 4(f) Evaluation highlights a

comparison of DEIS, SDEIS, and FEIS Section 4(f) impacts. See AR 535. As a result of design

refinements after feedback received from the Draft Section 4(f) Evaluation and the SDEIS, the

Preferred Alternative resulted in a “net reduction of approximately 113.6 acres of impact to

Section 4(f) properties.” AR 534. That included a reduction from 1.9 acres of permanent impact

to 0.2 acres at the Washington Biologists’ Field Club on Plummers Island, and complete

avoidance of the Morningstar Cemetery. See AR 534-36.

        The FEIS and Final 4(f) Evaluation analyzed air quality impacts, traffic impacts, impacts

on EJ populations, potential impacts to Morningstar Cemetery, and impacts to resources near the

American Legion Bridge, including Plummers Island. Those analyses confirm the hard look

taken by FHWA.



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       A.      FHWA Gathered Extensive Input From Federal, State, And Local Agencies,
               And The Public.
       FHWA and MDOT SHA “met with and considered input from federal, state, and local

agencies as well as the public.” AR 7. The four-year process included reading, reviewing, and

responding to “more than 5,000 comments formally submitted via email, phone, online and hard

copy comment forms,” as well as holding seven virtual and in-person hearings for the Draft and

SDEIS. AR 244. The extensive effort also involved over 16 public workshops and over 200

individual stakeholder, community, elected official, and business meetings. AR 242. Those

meetings included three meetings with the Washington Biologist Field Club, a group dedicated

to studying Plummers Island. AR 598-99. In response to the public input process, FHWA and

MDOT SHA “modified analysis methodologies, conducted new analyses, studied new or

modified existing alternatives, refined design to avoid or minimize environmental and

community impacts, and identified meaningful mitigation to address unavoidable impacts.” Id.

       B.      FHWA Took A Hard Look At Air Quality

       Throughout the environmental review process, the agencies identified and considered the

air quality impacts from the project. The FEIS includes assessments that build on the DEIS and

SDEIS analyses of impacts to air quality, including discussions regarding NAAQS, and analyses

of Mobile Source Air Toxics (“MSAT”) emissions and Greenhouse Gas (“GHG”) emissions. AR

407-12. To support the FEIS, the agencies prepared the Final Air Quality Technical Report,

which focuses on the Preferred Alternative. AR 14326. Its purpose is to “present the existing

conditions, an assessment of potential direct impacts of the Preferred Alternative to air quality

and final mitigation, if applicable, for unavoidable impacts.” AR 14326. That analysis builds on

the previous documents, including the Draft Air Quality Technical Report.




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       Visualize 2045, the long-range transportation plan for metropolitan Washington, includes

the Project’s scope and design. The Visualize 2045 Air Quality Conformity Analysis is based on

the most current planning assumptions available for the Washington region, as well as the latest

emissions factor model specified by EPA for use in these types of conformity assessments. AR

520. That analysis demonstrates that the Project “will not cause or contribute to a new violation

. . . of the NAAQS established by USEPA.” AR 520; see also AR 408.

       The primary NAAQS pollutants are discussed throughout the Study. A detailed

description of both the source and the health and environmental effects of the criteria

pollutants—including Particulate Matter 2.5 (“PM2.5”)—are described in the Draft Air Quality

Technical Report. AR 44930. Because the Project study area is in attainment for PM2.5 and

Carbon Monoxide (“CO”), the Clean Air Act transportation conformity requirements pertaining

to those pollutants do not apply for this Project. AR 408. For that reason, no further PM2.5 or CO

analysis was required. AR 408. But MDOT SHA analyzed CO emissions from affected

intersections and interchanges “for informational purposes since CO is a proxy for transportation

emissions . . . .” AR 656. “The result of that analysis demonstrates that the worst-case

interchanges and intersections for each Build Alternative . . . , using very conservative

assumptions, would not cause or contribute to a violation of the CO NAAQS within the study

area.” AR 656.

       Finally, FHWA considered the air quality impacts from construction. “The primary air

quality concerns during construction would be a potential short-term localized increase in the

concentration of fugitive dust (including airborne PM2.5 and PM10).” AR 522. To mitigate and

minimize these short-term localized impacts to air quality, FHWA put forward nine dust control

measures for use by the contractor. AR 522.



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       C.      FHWA Thoroughly Evaluated Environmental Justice Impacts
       In compliance with Executive Order 12898, USDOT Order 5610.2C, FHWA Order

6640.23A, and FHWA memorandum Guidance on Environmental Justice and NEPA (2011),

FHWA followed an eight-step process for identifying EJ communities and analyzing whether the

Project would cause any disproportionately high and adverse effects on those communities. See

AR 473.

       The first step was identification of minority race and ethnicity populations, and low-

income populations along the forty-eight-mile corridor. See AR 473. The agencies conducted an

EJ analysis of the 66 Census block groups along the impacted area, considering both

race/ethnicity and income factors to identify impacted EJ populations. AR 471-78. The agencies

then used supplemental data such as various mapping tools, English-speaking status, subsidized

housing locations, distribution of Supplemental Nutrition Assistance Program benefits, and

students receiving free/reduced-price lunches to identify additional EJ populations in the

impacted area. See AR 480. To properly identify low-income populations, the agencies used the

HUD Income Limits Survey, which has a lower-threshold methodology for determining low-

income populations in the impacted area than is required for an EJ analysis. AR 475-76. The

agencies also used analytical tools such as US EPA EJSCREEN1 to enhance their EJ analysis.

AR 480-81. This confirmed that the methodology and identification of potential EJ populations

aligned with similar assessments completed by outside expert institutions. AR 649. In total, the

agencies identified 16 of the 66 census block groups were considered EJ populations for the

Study. AR 477.




1 EJSCREEN is “an online EJ screening and mapping tool that combines environmental and

demographic data for various geographies and presents them in maps and reports.” AR 480.
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       The second step consisted of a review of demographic data to determine existing

environmental and community conditions of EJ populations. See AR 473. The agencies

conducted a robust analysis looking at the 66 census population block areas within the study

corridor. AR 474. This included further identification of minority race and ethnicity populations

and low-income populations. Id. Among the factors looked at, the agencies used EJSCREEN to

analyze several environmental indicators, including PM2.5, for the identified EJ populations to

compare the EJ concerns to the rest of the State of Maryland. AR 480.

       The third step included thorough documentation of outreach as planned and refined

throughout the Project, in full consideration of demographic and community data to ensure

“meaningful involvement in EJ populations.” See AR 473. Outreach efforts during the DEIS

hearing and comment period included:

       •   Flyers in English, Spanish, Amharic, and French to around 200 affordable housing
           complexes, schools, and places of worship along the study corridors.
       •   Spanish, Amharic, and French translations of the DEIS Executive Summary on the
           Project website and hard copies at viewing locations.
       •   Spanish language ads in El Tiempo Latino, Washington Hispanic, and on
           eltiempo.com.

       Outreach efforts during the SDEIS hearing and comment period included:

       •   Newspaper print advertisements.
       •   Online digital ads three weeks before the public hearing, including ads targeting black
           and African American and Hispanic adults likely to own a home and commute over
           20 miles daily using I-270 or I-495 using geofencing.
       •   Spanish-language radio ads two weeks before the virtual public hearing.
       •   Flyer outreach to various housing complexes, advisory boards, and other community
           groups.

See AR 487-89.

       Finally, the Study involved identification of adverse or beneficial effects to EJ

populations under the No Build and Preferred Alternative. See AR 473. The No Build

Alternative “could result in increased overflow congestion on local roads which could result in

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increased response times for emergency services and increased travel times to community

facilities.” AR 493. And this alternative would not address the existing congestion and related

emissions. See id. The Preferred Alternative, by contrast, “would address existing and long-term

traffic growth including improvement to the local roadway network, increased trip reliability,

enhanced multimodal connectivity and mobility and additional travel options.” AR 493.

       FHWA compared the effects on EJ communities and made its final conclusions. The

FEIS considered impacts on EJ vs. non-EJ communities and found that most quantifiable impacts

would fall on non-EJ communities, including:

       •    91% of impacted properties and 85% of impacted property acreage.
       •    100% of impacted community facility properties and acreage.
       •    90% of impacted Section 4(f) properties and 98% of impacted Section 4(f) property
            acreage.
       •    58% of the low-risk, 93% of the moderate-risk and 82% of the high-risk sites of
            hazardous materials concerns.
       •    95% of impact to wetlands, 83% impact to wetland buffers 84-91% impact to waters,
            77% impact to tree canopy and 89% impact to floodplains.

AR 502.

       Based this information, FHWA and MDOT SHA determined that “a disproportionately

high and adverse impact would not occur to the EJ Analysis Area populations under the

Preferred Alternative.” AR 503.

       D.      FHWA Took Concerns About Traffic Modeling Seriously
       The traffic impacts analysis “used state-of-the-practice models that were validated and

calibrated specifically for the Study.” AR 636. Those same models are “regularly used by

MDOT SHA and other transportation agencies to evaluate projects in the Washington, DC metro

area.” AR 318. FHWA “reviewed and approved” the models “when this NEPA process was

initiated.” AR 636. And “[a]s typical practice . . . information was updated during the course of

the Study.” AR 636


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       As they did with every substantive comment received, FHWA and MDOT SHA

responded to the comments about traffic modeling and discussed the opposing points of view.

See AR 636. The agencies summarized the “many comments” about traffic modeling and

addressed general topics raised, including methodology and inputs used. See AR 636. It also

specifically responded to Plaintiff Sierra Club’s comments, including their comments on traffic

modeling. See AR 171-75.

       During the comment period for the FEIS, FHWA received a comment letter from

Maryland Transit Opportunities Coalition (“Coalition”). The Coalition alleged that differences

between the modeling results in the SDEIS and the FEIS revealed “possible scientific fraud.” AR

130. FHWA took its responsibility to ensure scientific integrity seriously. 40 C.F.R. § 1502.23

(“Agencies shall ensure the professional integrity, including scientific integrity, of the

discussions and analyses in environmental documents.”). In response to those comments, FHWA

engaged the DOT Volpe Center—a resource that provides “world-renowned multidisciplinary,

multimodal transportation expertise on behalf of DOT, other federal agencies, and external

organizations”—to conduct an independent review of the issues raised in the Coalition’s letter.

AR 137. After completing the review of the SDEIS and FEIS traffic modeling, the Volpe Center

“did not find scientific integrity fraud.” AR 137. Instead, it attributed the differences to “minor

changes in the analyses conducted for those two documents and inherent limitations of the

modeling process used by [MDOT] to analyze the project’s impacts on traffic volumes and travel

times.” AR 137; accord AR 138-39.

       The Volpe Center determined that two points raised by the Coalition deserved a more

detailed response. AR 179750-53. MDOT SHA addressed those issues, as well as all the

allegations in the Coalition’s letter; FHWA included that response in the ROD. AR 140.



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       E.      Through Extensive Research And Planning, FHWA Avoided Impacts To The
               Morningstar Cemetery
       A focus area of the Study was the Morningstar Cemetery, the site of a late nineteenth-

century African American benevolent society. The Morningstar Cemetery is near the I-495 inner

loop just south of Cabin John Parkway and next to a MDOT SHA-owned right of way. AR

27541. Through all the decision making, FHWA and MDOT SHA consulted the leadership of

the First Agape African American Methodist Episcopal Zion Church, the Friends of Moses Hall,

the Maryland Historical Trust, and others. Through that consultation, the agencies were able to

learn more about the property and how to preserve it.

       An important step toward preservation occurred on July 23, 2020, when MDOT SHA

found that Morningstar Cemetery was eligible for listing in the National Register of Historic

Places. The Maryland Historic Trust concurred with the eligibility determination on September

4, 2020. AR 27455.

       Another step was the identification of both marked graves and potential graves. Invasive

bamboo had made it nearly impossible to determine what lay underneath various parts of the

Morningstar Cemetery property and along the MDOT SHA right-of-way. In early 2021, to help

the documentation of Morningstar Cemetery, MDOT SHA removed invasive bamboo. AR

27590. An archaeological monitor was present during all clearing activities, making it possible to

document marked graves and the archaeological site of Moses Hall. AR 13914.

       MDOT SHA also conducted ground penetrating radar surveys of the cemetery property

and portions of the state-owned right-of-way. The surveys revealed possible burials that

extended into the MDOT SHA right-of-way. AR 6021. MDOT SHA adjusted the limits of

disturbance near the cemetery to avoid the areas where radar revealed potential for grave features




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and included additional buffer around this area within the right-of-way to avoid possible impacts.

AR 27428.

       After assisting and reviewing this work, FHWA agreed that “[b]ased on the current

historic boundary, the Preferred Alternative would avoid direct impacts to the Morningstar

Tabernacle No. 88 Moses Hall and Cemetery.” AR 5687.

       Despite avoiding the Morningstar Cemetery, MDOT SHA has committed to

improvements within the historically African American community of Gibson Grove where the

Morningstar Cemetery is located. In the ROD, MDOT SHA committed to: (1) construct a new

sidewalk to re-establish a connection between the Morningstar Cemetery and First Agape Zion

Church (“Gibson Grove Church”); (2) fund or construct a new parking lot for the Gibson Grove

Church; (3) provide stormwater improvements for the Church property; and (4) convey to the

trustees of the Morningstar Cemetery a portion of the existing state-owned right-of-way located

next to the boundary of Morningstar Cemetery where surveys identified potential burials. AR 31.

       F.      FHWA Conducted Extensive Studies To Avoid And Minimize Impacts To
               Resources Near The American Legion Bridge
       A focus of the Study was avoidance of resources near the American Legion Bridge. One

of those resources was Plummers Island, which is part of the Ohio Canal National Historic Park,

owned by the National Park Service. AR 369. Plummers Island is “a recognized ecologically

sensitive and [National Register of Historic Places]-eligible historic property.” AR 369.

       After extensive coordination with the National Park Service, FHWA and MDOT SHA

assembled an “Strike Team” of national and local experts in design, structures, and

constructability. AR 307; AR 534. The Team was asked to investigate “alternative bridge

designs and construction techniques that could be employed to reduce, minimize, and avoid

impacts to natural, cultural, and parkland resources around the [American Legion Bridge].” AR


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307. The Strike Team looked at a range of options, including different bridge types, construction

methods, and bridge alignments. Id. As a result of the Strike Teams efforts, impacts to Plummers

Island were reduced from 1.9 acres of permanent impact in the DEIS to 0.2 acres in the FEIS.

AR 536.

VI.    The 2022 Record Of Decision

       FHWA and MDOT SHA announced approval of the Record of Decision (“ROD”) on

August 25, 2022. See AR 57. Relying on information and analyses presented in the DEIS,

SDEIS, FEIS, technical reports, and on comments throughout the review process, the ROD

identified selection of the Preferred Alternative as the selected alternative. The decision

“balances the need for safe, fast and efficient transportation and public services with the goal of

avoiding, minimizing, or mitigating adverse environmental and community effects.” Id. FHWA

and MDOT SHA considered comments issued during a thirty-day review period between the

publication of the FEIS and the ROD. AR 7. These totaled roughly 33 individual comments and

514 form letter comments from individuals. See AR 51. The ROD includes all substantive

comments received during the period, which amounts to eight comments. See id.

                                   STANDARD OF REVIEW

       The Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq., provides for judicial

review of agency decisions under NEPA, Section 4(f), and Section 106. Under the APA, “a court

will set aside an agency action if it is ‘arbitrary, capricious, an abuse of discretion, or otherwise

not in accordance with law.’” Ohio Valley Envtl. Coal., Inc. v. U.S. Army Corps of Eng’rs, 828

F.3d 316, 321 (4th Cir. 2016) (quoting 5 U.S.C. § 706(2)(A)). Though a court’s review under the

APA should be “searching and careful,” it is not de novo. Marsh v. Or. Nat. Res. Council, 490

U.S. 360, 378 (1989) (citation omitted). The court’s review is “highly deferential, with a



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presumption in favor of finding the agency action valid.” Ohio Valley Env’t. Coal. v. Aracoma

Coal Co., 556 F.3d 177, 192 (4th Cir. 2009). “Deference is due where the agency has examined

the relevant data and provided an explanation of its decision that includes a rational connection

between the facts found and the choice made.” Id. (internal quotation marks and citation omitted).

That “narrow” standard does not empower a court “to substitute its judgment for that of the

agency.” Overton Park, 401 U.S. at 416. The court reviews only “whether the agency conformed

with controlling statutes, and whether the agency has committed a clear error of judgment.” Holly

Hill Farm Corp. v. United States, 447 F.3d 258, 263 (4th Cir. 2006) (internal quotations and

citations omitted)).

                                            ARGUMENT

I.      The Court Lacks Jurisdiction Over Northern Virginia Citizens Association’s Claims

        Northern Virginia Citizens Association (“NVCA”) fails to establish standing to bring its

NEPA claims. “Article III standing is part and parcel of the constitutional mandate that the

judicial power of the United States extend[s] only to cases and controversies.” Baehr v. Creig

Northrop Team, P.C., 953 F.3d 244, 252 (4th Cir. 2020) (internal quotation marks omitted). To

establish Article III standing, a plaintiff must allege an injury that is (1) “concrete, particularized,

and actual or imminent”; (2) “fairly traceable to the challenged action”; and (3) “redressable by a

favorable ruling.” Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013); see also Lujan v.

Defs. of Wildlife, 504 U.S. 555, 560 (1992) (noting these elements are “the irreducible

constitutional minimum of standing”).

        Even if NVCA sufficiently demonstrates injury-in-fact, it has not—and cannot—

demonstrate the other two elements required for standing. “The second and third prongs of [the]

standing inquiry require [the court] to determine whether [plaintiff]’s alleged injuries are fairly



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traceable to a defendant’s conduct, and whether a favorable decision would be likely to redress

these injuries.” Doe v. Va. Dep’t of State Police, 713 F.3d 745, 755 (4th Cir. 2013). As to the

second prong, known as “traceability,” it “means it must be likely that the injury was caused by

the conduct complained of and not by the independent action of some third party not before the

court.” Friends of the Earth, Inc. v. Gaston Copper Recycling Corp., 204 F.3d 149, 154 (4th Cir.

2000). NVCA does not plausibly allege that its members’ injuries are traceable to Federal

Defendant’s actions being challenged in this case—i.e., FHWA’s analysis of environmental

impacts associated with the Managed Lanes Study under NEPA. Rather, NVCA’s alleged

injuries are tied directly to the 495-NEXT Project, which as NVCA notes, is “a separate toll lane

project underway in Virginia.” Pls.’ Mem. 10 n.7. NVCA is fully aware of the separate nature of

the 495-NEXT Project, having already filed (and subsequently dismissing) a challenge to

FHWA’s and the Virginia Department of Transportation’s (“VDOT”)’s environmental analysis

in the Eastern District of Virginia.2

       Traceability and redressability are interrelated, and “they rise or fall together in this

case.” Va. Dep’t of State Police, 713 F.3d at 755 n.6 (quoting Friends for Ferrell Parkway, LLC

v. Stasko, 282 F.3d 315, 323 n.1 (4th Cir. 2002)). Thus, for the same reason NVCA cannot

demonstrate traceability—NVCA is challenging the wrong project—it does not meet the third

prong of standing, redressability. “[T]he redressability prong entails that it must be likely, and

not merely speculative, that a favorable decision will remedy the injury.” Gaston Copper

Recycling, 204 F.3d at 154; Va. Dep’t of State Police, 713 F.3d at 755. “That inquiry focuses, as




2 N. Va. Citizens Ass’n v. FHWA, No. 1:23-cv-356 (E.D. Va.) (motion for preliminary injunction

denied April 7, 2023, see ECF No. 40; voluntarily dismissed May 11, 2023, ECF No. 42).
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it should, on whether the injury that a plaintiff alleges is likely to be redressed through the

litigation.” Sprint Commc’ns Co., L.P. v. APCC Servs., Inc., 554 U.S. 269, 287 (2008).

       Importantly, “the traceability and redressability prongs become problematic when third

persons not party to the litigation must act in order for an injury to arise or be cured.” Va. Dep’t

of State Police, 713 F.3d at 755. Because the action causing NVCA’s alleged injury is not the

subject of the challenge in this case, there is no relief this Court could accord. See Lujan, 504

U.S. at 568, 571 (finding lack of redressability where redress of complained-of injury required

action from agency not party to the case). Accordingly, this Court lacks subject matter

jurisdiction and NVCA’s claims must be dismissed.

       A.      NVCA’s Alleged Injuries Are Not Traceable To FHWA’s NEPA Analysis
               For The Managed Lanes Project

       NVCA alleges that FHWA’s NEPA analysis failed to assess impacts from “belated

design changes” to the interchange surrounding the George Washington Memorial Parkway near

Live Oak Drive. Pls.’ Mem. 10. Specifically, NVCA alleges that the “redesigned” interchange

includes additional and raised ramps that eliminate green scaping between Live Oak Drive and

I-495, thereby requiring a taller barrier to block sound and light. Id. at 11; Butler Decl. ¶¶ 5-6. At

the outset, NVCA acknowledges that the Virginia Department of Transportation is responsible

for the revised interchange. Pls.’ Mem. 11 (alleging that “the Virginia Department of

Transportation (VDOT) unveiled a radically changed design,” and that “work by VDOT” has

eliminated the treed buffer between Live Oak Drive and I-495). And NVCA admits VDOT made

these changes to the interchange “as part of Virginia’s 495-NEXT project.”3 Butler Decl. ¶ 3.



3 As explained in the litigation challenging the 495-NEXT Project, where NVCA raised the same

arguments as they do in this case, these “changes” were not “radical,” but refined the project
design within the Limits of Disturbance already considered to be impacted. See Butler Decl., Ex.
A ¶ 18.
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       The Managed Lanes Project FEIS confirms what NVCA already knows—which ramps

are being constructed as part of the Managed Lanes Project versus the 495 NEXT Project.

Appendix E, Maps 1 and 2, depict the “exchange ramps” proposed as part of the Managed Lanes

Project. AR 5098-99. These exchange ramps were contemplated in the Project SDEIS and would

provide ingress and egress to the I-495 Express Lanes. See AR 27674. Importantly—these

“exchange” ramps are not the ramps causing NVCA’s alleged injuries. See Butler Decl. ¶¶ 5-6

(describing height and proximity of 495-NEXT Project ramps to Live Oak Drive).4 The other

ramps next to Live Oak Drive are all denoted as part of the 495 NEXT Project. Id.; see also AR

178599, Fig. 1 (denoting five separate ramps near Live Oak Drive, only one of which (“Ramp

4”) is part of the Managed Lanes Project).

       NVCA is incorrect that the design revisions were made by VDOT to “facilitate the

additional flyover ramps to be built by MDOT.” Pls.’ Mem. 12 (citing Butler Decl., Ex. A, att.

11 at 1) (VDOT Interchange Justification Report Addendum (“IJR Addendum”)). The IJR

Addendum explains the relocation of a ramp as part of the 495-NEXT Project “in order to reduce

impacts on the east side of the I-495/GWMP interchange.” Butler Decl., Ex. A, att. 11 at 1. The

IJR Addendum shows the revised VDOT ramp design with the Managed Lanes Project

components layered on top, which “were analyzed for the purposes of traffic and safety.” Id.

Indeed, even without the Managed Lanes Project, the 495-NEXT Project would still move

forward (and currently is moving forward), because it has independent utility. AR 178607

(noting that each project has independent utility).




4 The Managed Lanes Project included Live Oak Drive within the Limits of Disturbance to be

consistent with VDOT’s right-of-way. The Managed Lanes Project does not actually impact Live
Oak Drive. AR 159972-73.
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       NVCA’s alleged injuries are not caused by the action being challenged in this case—

FHWA’s environmental analysis of the Managed Lanes Project. Because NVCA’s alleged

injuries are not traceable to the Managed Lanes Project, NVCA lacks standing.

       B.      NVCA’s Alleged Injuries Cannot Be Redressed In This Case

       For similar reasons, NVCA’s alleged injuries cannot be redressed in this case. A plaintiff

faces a related obstacle to establishing traceability and redressability when there is an

unchallenged, independent rule, policy, or decision that would prevent relief even if the court

were to render a favorable decision. Va. Dep’t of State Police, 713 F.3d at 756. This Court

cannot afford relief that would redress NVCA’s alleged injuries, as the environmental analysis

here relates to the Managed Lanes Project—a project that is independent from the 495-NEXT

Project and the genesis of NVCA’s alleged harm.5 Simply put, the cause of NVCA’s alleged

harm is not before this Court, and therefore this Court cannot afford any relief.

       And NVCA’s argument that FHWA is required, as part of its analysis of the Managed

Lanes Project, to conduct supplemental NEPA analysis of the revisions to the 495-NEXT

Project, has no merit. Supplemental NEPA analysis of cumulative impacts from the 495-NEXT

Project neither would redress NVCA’s alleged harm,6 nor is that even available to begin with.

FHWA considered the Managed Lanes Project’s cumulative impacts, combined with past,

present, and reasonably-foreseeable future actions, which are summarized in the FEIS and

provided in detail in Appendix Q. AR 517-520; AR 21152, Table 3-10 (listing Virginia’s




5 A project that NVCA already challenged, and voluntarily dismissed after being denied a

preliminary injunction.

6 Even if NVCA alleged “procedural” harm under NEPA, this does not provide NVCA with

standing, as any procedural harm cannot be tied to a “concrete interest” as would be required to
demonstrate standing. Summers v. Earth Island Inst., 555 U.S. 488, 496 (2009).
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expansion of I-495 HOT lanes in list of transportation projects included in indirect and

cumulative effects analysis). FHWA need not prepare supplemental NEPA analysis for the

Managed Lanes Project because of minor design changes to the 495-NEXT Project (especially

because supplemental NEPA analysis was not required for the 495-NEXT Project itself). See

Habitat Educ. Ctr., Inc. v. U.S. Forest Serv., 673 F.3d 518, 522-23 (7th Cir. 2012) (finding an

agency need not conduct cumulative impacts analysis for projects proposed after the agency has

issued its draft NEPA analysis). In other words, “NEPA does not require an agency to generate

paperwork bearing no meaningful effect on the substance of pending proposals.” Id.

       Because NVCA’s alleged injuries cannot be redressed in this case, it lacks standing, and

the Court lacks jurisdiction over its claims.

II.    The Agencies Complied With NEPA

       Plaintiffs allege that FHWA and MDOT SHA violated NEPA by failing to take the

required hard look at the Project’s PM2.5 emissions, the adverse impacts on EJ communities, the

impacts from changes to the George Washington Memorial Parkway interchange design, and by

failing to disclose and explain important aspects of the studies traffic modeling.

       Neither the record nor the law supports any of Plaintiffs’ challenges. The record shows

that the agencies took the required hard look at the environmental impacts, provided extensive

public involvement, disclosed and responded to all opposing viewpoints, and continued to assess

and refine the Project throughout the Study. The Court should therefore grant FHWA’s motion

for summary judgment as to NEPA.

       A.      FHWA Took The Required Hard Look At Air Quality Impacts, Including
               PM2.5

       Plaintiffs argue that FHWA’s air quality analysis fell short because it ignored the public

health harms from the Project’s PM2.5 emissions. Pls.’ Mem. 20-23. And they contend that


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FHWA’s reliance on NAAQS compliance for its air quality analysis is arbitrary and capricious.

Pls.’ Mem. 23-27. Plaintiffs are wrong. FHWA looked at the right information, followed the

applicable regulations, and relied on the air quality standards set by EPA. Such an analysis does

not violate NEPA.

               1.      FHWA Adhered to the Relevant Air Quality Regulations and
                       Conducted the Required Analyses
       At every step, FHWA followed the required regulations and ensured a hard look was

taken at air quality impacts. To start, FHWA ensured the Study area complied with the NAAQS.

As required by EPA, the Metropolitan Washington Council of Governments’ Transportation

Planning Board conducted a regional conformity analysis to assess whether the area met the

current NAAQS standards. AR 408. That study included the Project in its long-range outlook for

NAAQS compliance, and FHWA ensured that the correct design concept and scope of the

Project were analyzed as required by the applicable regulations. AR 145782-84; AR 146294-95;

AR 189890. The result of the conformity analysis showed that the Project “will not cause or

contribute to a new violation . . . of the NAAQS established by USEPA.” AR 520; AR 408.

       As to the primary NAAQS pollutants, FHWA continued its hard look. In the Air Quality

Technical Report accompanying the DEIS, both the source and the health and environmental

effects of the criteria pollutants are described. AR 44930. Because the area is in attainment for

both PM2.5 and CO, as confirmed in the long-range transportation plan, no further modeling or

analysis was required. But FHWA still analyzed CO “for transparency under NEPA for affected

intersections and interchanges impacted by the Study.” AR 14330-31. FHWA’s “choice to model

primarily for carbon monoxide was reasonable, given that carbon monoxide is the most likely

priority pollutant to have a significant impact on air quality,” TOMAC, Taxpayers of Mich.




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Against Casinos v. Norton, 433 F.3d 852, 863 (D.C. Cir. 2006), and because it is a “proxy for

transportation emissions.” AR 656.

       And the agencies included PM2.5 in its analysis. On top of describing the specific health

effects from particulate matter, AR 44930, and confirming the Project area’s attainment status

for PM2.5, AR 44995, the agencies also considered the short-term air quality impacts from

construction. AR 45037-38. They identified the “short-term localized increase” in airborne PM2.5

as one of its “primary air quality concerns,” and provided measures to mitigate that concern. Id.

While that analysis is “focused on the construction phase,” it nevertheless “address[es] . . . air

pollution for the entire project.” Audubon Naturalist Soc’y of The Cent. Atl. States, Inc. v. U.S.

Dep’t of Transp., 524 F. Supp. 2d 642, 708 (D. Md. 2007).

       Throughout this process, FHWA consulted EPA regarding the various impact analyses,

including air quality. At no time did EPA suggest that FHWA should separately model PM2.5.

               2.      Reliance on NAAQS Compliance for Analyzing Criteria Pollutants is
                       not Arbitrary or Capricious
       Contrary to Plaintiffs’ assertions, “the case law is nearly unanimous that federal agencies

may rely on NAAQS compliance to conclude that human health will not be seriously affected by

a transportation project.” Sierra Club v. Fed. Highway Admin., No. 17-CV-1661-WJM-MEH,

2018 WL 1610304, at *7 (D. Colo. Apr. 3, 2018) (collecting cases from Fifth, Sixth, and Ninth

Circuits).7 And for good reason. The Clean Air Act (“CAA”) requires that the Environmental

Protection Agency set the primary NAAQS at levels “to protect the public health.” 42 U.S.C. §

7409(b)(1). Given the CAA’s requirements, the “logic” of FHWA’s reliance on the NAAQS “is



7 “Notably, at least two courts have recognized that NEPA’s requirements are per se satisfied by

demonstrating conformity with NAAQS.” Coal. for Advancement of Reg'l Transp. v. Fed.
Highway Admin., 576 F. App’x 477, 492 n.6 (6th Cir. 2014) (citing Tinicum, 685 F.3d at 296–98;
Sierra Club v. FHWA, 715 F. Supp. 2d 721, 741 (S.D. Tex. 2010)).
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indeed well-reasoned: If ambient air quality standards are designed, as they are, to protect human

health, then a finding that the projects do not violate those standards logically indicates that they

will not significantly impact public health.” Border Power Plant Working Grp. v. Dep’t of

Energy, 260 F. Supp. 2d 997, 1020–21 (S.D. Cal. 2003).

        It is true that “EPA isn’t required to set NAAQS at levels below which [a pollutant] is

known to be harmless.” Pls.’ Mem. 22 (citing Am. Trucking Associations, Inc. v. E.P.A., 283

F.3d 355, 360, 369-70 (D.C. Cir. 2002)). And the Clean Air Act does not require the EPA

administrator to set the NAAQS at a zero-risk level. See Mississippi v. EPA, 744 F.3d 1334,

1351 (D.C. Cir. 2013). But EPA must set the standards “at a level that reduces risk sufficiently so

as to protect public health with an adequate margin of safety.” 88 Fed. Reg. 5558, 5564 (Jan. 27,

2023); 42 U.S.C. § 7409(b)(1). While Plaintiffs may disagree with the current NAAQS level for

PM2.5, that is not at issue in this litigation. As to NEPA, Plaintiffs cite to no case, statute, or

regulation that requires the hyper-localized findings they demand for PM2.5 levels below the

NAAQS.

        The reasonableness of FHWA’s reliance on the NAAQS standards is highlighted by the

EPA’s consideration of the health effects of PM2.5. EPA has long known and understood the

effects of PM2.5 on public health. Pls.’ Mem. 20-21. Indeed, in Sierra Club’s comments, they

note that EPA considered all the health effects from PM2.5 when EPA established the NAAQS

standards for particulate matter. AR 136988. For that reason, FHWA did not act arbitrarily or

capriciously by relying on those same standards when it considered the air quality impacts—

including impacts to public health—of PM2.5. See Dine Citizens Against Ruining Our Env’t v.

Haaland, 59 F.4th 1016, 1046 (10th Cir. 2023) (“Comparison to standards set by administrative




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bodies to determine whether healthy levels of pollutants would be exceeded constitutes a hard

look at the health impacts of the drilling.”).

       The cases Plaintiffs rely on to argue that reliance on the NAAQS violates NEPA are

inapt. In Calvert Cliffs’ Coordinating Committee v. United States Atomic Energy Comm’n, 449

F.2d 1109 (D.C. Cir. 1971), the D.C. Circuit rejected a proposed regulation that would have

“prohibited” the agency “from conducting an independent evaluation and balancing of certain

environmental factors” if the applicant agreed to comply with another agencies’ environmental

standards. 449 F.2d at 1117, 1122. But an agency’s reliance on another entity’s environmental

analyses should be rejected only when “the agency had failed to undertake any analysis of its

own. That is not the case here.” Gunpowder Riverkeeper v. FERC, 807 F.3d 267, 281 (D.C. Cir.

2015) (Rogers, J., concurring) (citing Calvert Cliffs, 449 F.2d 1109). FHWA prepared a detailed

air quality analysis that included discussion of the NAAQS pollutants, the relevant regulations,

and why further analysis was not required. And the agencies disclosed the comment letters with

the studies on PM2.5 Plaintiffs point to, and the agencies acknowledged that information. Thus,

Plaintiffs have not identified “the fatal type of abdication that the court disapproved in . . .

Calvert Cliffs.” Id.

       And Environmental Defense Center v. Bureau of Ocean Energy Management, 36 F.4th

850, 874 (9th Cir. 2022), does not support Plaintiffs’ claims. There, the Ninth Circuit did not

review an agency’s reliance on the NAAQS for an EIS—it considered a finding of no significant

impact based on a National Pollution Discharge Elimination System General Permit (“NPDES

permit”) issued under the Clean Water Act for offshore oil well stimulations treatments. Id. at

874. The court found that “the NPDES permit was not created or intended to be used for the

offshore well stimulation treatments at issue in that case” because “the NPDES permit does not



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require monitoring for the most common well stimulation treatment fluids.” Id. at 875. By

contrast, the NAAQS attainment levels include the pollutant at issue here— PM2.5—and are set

at a level determined by EPA to be necessary to protect public health.

       Plaintiffs’ reliance on Friends of Buckingham v. State Air Pollution Control Bd., 947

F.3d 68 (4th Cir. 2020), fares no better. The Fourth Circuit vacated Virginia’s approval of a

compressor station in that case because the state agency failed to comply with Virginia’s EJ

requirements. 947 F.3d at 87-93. While Friends of Buckingham discusses PM2.5 and NAAQS

conformity, it is “easily distinguishable.” Town of Weymouth, Mass. v. Mass. Dep’t of Env’t

Prot., 961 F.3d 34, 55 (1st Cir.), on reh’g, 973 F.3d 143 (1st Cir. 2020) (rejecting comparison to

Friends of Buckingham in determining compliance with Massachusetts EJ requirements). The

statute at issue there outlines the powers and duties of the Virginia Air Pollution Control Board,

and grants “the Board with broad authority ‘to control . . . all sources of air pollution in the

Commonwealth.’” Mirant Potomac River, LLC v. State Air Pollution Control Bd., No. CL07–

2933, 2008 WL 6745388, at * 3 (Va. Cir. Mar. 13, 2008). When exercising that broad authority,

Virginia law mandates specific findings the Board must make, Va. Code Ann. § 10.1-1307(E),

which includes consideration of environmental justice. Friends of Buckingham, 947 F.3d at 87.

       The Fourth Circuit found the Board failed to give “any explanation” as to the specific,

localized findings required under Virginia law, and reliance on the NAAQS could not overcome

those failings. Id. at 89. Even so, “Virginia’s EJ requirements are not [NEPA]’s . . .

requirements. A violation of the former, even on similar facts, would not necessarily be a

violation of the latter.” Town of Weymouth, 961 F.3d at 55. The mandates Virginia state law

imposes on its agencies should have no bearing on a federal agency’s actions in the state of




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Maryland. Under NEPA, there is no requirement for the hyper-localized findings Plaintiffs

demand, and agencies are allowed to rely on the careful work of other entities.

       On this record, Plaintiffs have not shown a violation of NEPA. The agencies analyzed the

projects impacts to air quality, and reasonably relied on the NAAQS standards when considering

the Project’s health impacts from PM2.5.

       B.      FHWA Took A Hard Look At Environmental Justice Impacts

       FHWA complied with the requirements of E.O. 12898. This Executive Order instructs

federal agencies to “identif[y] and address[], as appropriate disproportionately high and adverse

human health or environmental effects . . . on minority populations and low-income populations

in the United States.” Exec. Ord. No. 12898, 59 Fed. Reg. 7629, 7629 (Feb. 11, 1994).8 FHWA

Order 6640.23A establishes the agency’s policies and procedures for E.O. 12898. AR 472.

       NEPA requires that an agency consider the environmental impacts of its projects in

making its decisions. Latin Americans for Soc. & Econ. Dev. v. Adm’r of Fed Highway Admin.,

756 F.3d 447, 476-77 (6th Cir. 2014). While EJ issues are a consideration in decision making,

they are not controlling. Id.; see also Sierra Club v. FERC, 867 F.3d 1357, 1368 (D.C. Cir. 2017)

(“As always with NEPA, an agency is not required to select the course of action that best serves

environmental justice, only to take a ‘hard look’ at environmental justice issues.”) (citations

omitted). FHWA considered environmental justice impacts throughout its NEPA environmental

review process—in the 2020 DEIS, 2021 SDEIS and 2022 FEIS. AR 38406; AR 27430; AR 471.

       Plaintiffs argue that FHWA’s EJ analysis fails in two ways: (1) FHWA failed to take a

hard look at the evidence that the Project would disproportionately increase air pollution in EJ



8 Executive Order 14,096, Revitalizing Our Nation’s Commitment to Environmental Justice for

All, issued April 21, 2023, supplements E.O. 12,988. This new E.O., however, does not apply to
FHWA’s analysis here.
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communities, Pls.’ Mem. 30; and (2) FHWA failed to take a hard look at cumulative impacts to

environmental justice communities because it did not factor into its analysis the relevant

communities’ preexisting pollution burdens and health vulnerabilities. Id. at 33. As explained

below, neither argument is supported by the record.

                1.     FHWA Thoroughly Considered the Effects of Air Pollution on
                       Environmental Justice Communities Within the Project Area

        Plaintiffs assert that the agencies ignored the impacts of traffic, and by extension, air

pollution, on environmental justice communities near the managed lanes northern end point on

I-270 and the I-270 spurs. See Pls.’ Mem. 30-32. But FHWA specifically considered traffic

impacts to EJ communities, including communities at the Project’s northern endpoint in

Gaithersburg. AR 5230-32. In fact, FHWA prepared a more than 100-page technical report (not

including additional appendices) analyzing community and socioeconomic effects, including

identification and analysis of effects on EJ communities. AR 5136-5261 Appendix F, Final

Community Effects Assessment & EJ Analysis Technical Report (“EJ Report”).

        As for traffic, although FHWA acknowledged that drivers would still experience

congestion on I-270 northbound during PM peak periods because of bottlenecks, it specifically

explained that this preexisting congestion “would not get worse due to implementing the

Preferred Alternative.” AR 259. FHWA also determined that both the managed lanes and the

general-purpose lanes would “experience traffic improvements under the Preferred Alternative in

2045 along the corridor segments near EJ populations. AR 5231 (emphasis added). And the

agencies found that drivers from EJ populations would likely benefit from the increased access to

transit options. Id.

        Along with analyzing traffic impacts (including benefits), multiple air quality studies

demonstrate that FHWA took the requisite hard look at air pollution impacts to EJ communities.


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FHWA conducted a quantitative assessment of MSAT emissions, and analyses for GHG and CO

emissions. AR 5233. CO analysis demonstrated that “the worst-case interchanges and

intersections for each build and the No Build Alternative, using very conservative assumptions,

would not cause or contribute to a violation of the CO NAAQS within the study corridor.” AR

5232-33; AR 44992 (showing localized carbon monoxide impacts below NAAQS standards).

And for the interchange where I-270 meets I-370, the modeling showed concentrations lower

than what exists today. AR 44993.

       FHWA also considered health effects on EJ communities. In the EJ Report’s analysis,

FHWA noted that FHWA guidance shows that “air toxics emissions from mobile sources have

the potential to impact human health.” AR 5234. Those health effects include “a causal

relationship between traffic-related air pollution and exacerbation of asthma” and “suggested

evidence of a causal relationship between childhood asthma, non-asthma respiratory symptoms,

impaired lung function, total and cardiovascular mortality, and cardiovascular morbidity.” Id.

After noting these potential health impacts, FHWA acknowledged that “EJ populations who live

in areas with high USEPA and MD EJSCREEN EJ Index scores may experience air quality

and/or public health impacts from construction activities and highway operations more acutely

than populations with lower EJ Index scores.” Id.; see also AR 496. Contrary to Plaintiffs’

assertion, FHWA did not ignore air pollution impacts to EJ communities—it considered these

impacts consistent with the hard look standard. See Dine Citizens, 59 F.4th at 1046 (finding

agency’s admission of health impacts on sensitive groups is proof that the agency did not ignore

the issue and met the requisite “hard look” standard).

       Plaintiffs disagree with FHWA’s conclusion that air pollution would not disproportionately

impact EJ communities because traffic related air pollution would be distributed along the entire



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length of the Project corridor, “regardless of EJ status.” AR 496. But Plaintiffs provide no record

evidence to the contrary, and no support for their assertion that FHWA provided the public with

erroneous information and reached an arbitrary and capricious conclusion. See contra N.C. Wildlife

Fed’n v. N.C. Dep’t of Transp., 677 F.3d 596, 602-03 (4th Cir. 2012) (finding agency made

fundamental errors in the data they relied on in the “no-build” scenario, knew of the error, but did

not divulge the error to the public). FHWA’s nearly 250-page Air Quality Technical Report

(Appendix K to the FEIS) includes the data from the MSAT analysis and the CO emissions

analysis. AR 14330-14347. There is no support for the assertion that FHWA’s data and

conclusions are wrong. Rather, as noted above, FHWA acknowledged that EJ communities “may

experience air quality and/or public health impacts . . . more acutely” than other communities. AR

496. The robust technical reports, combined with the analysis in the FEIS itself, demonstrate the

consideration the agency gave to the impacts from traffic-related air pollution, including on EJ

communities. FHWA met NEPA’s hard look requirement and E.O. 12898’s mandate to identify,

address, and consider the project impacts on environmental justice communities.

               2.      The Agency Took a Hard Look at the Project’s Cumulative Impacts
                       on Environmental Justice Communities

       Under NEPA, an agency must consider the cumulative impacts of a proposed project to

meet the ‘hard look’ standard. 40 C.F.R. §§ 1502.16(a)-(b), 1508.27(b)(7) (2019). Cumulative

impacts are those that “result[] from the incremental impact of the action when added to other

past, present, and reasonably foreseeable future actions,” no matter who is responsible for those

other actions. Id. § 1508.7. If the agency has “discuss[ed] and give[n] appropriate consideration”

to a project’s effects on the human environment, the agency’s burden under NEPA has been met.

40 C.F.R. § 1502.16(b). FHWA met this standard by thoroughly considering cumulative impacts,

including on EJ communities.

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       Plaintiffs assert that the agency did not factor in the preexisting pollution burdens and

health vulnerabilities of EJ communities. Pls.’ Mem. 34. This claim ignores the fact that the EJ

communities’ preexisting pollution burden was built into the framework of how the agency

identified EJ populations in the first place. AR 5207-08; see also Appendix F: EJScreen Data and

Mapping, AR 5350. And the entire purpose of the EJ Report was to “present the existing

conditions, an assessment of potential direct impacts of the [Project] to socioeconomic resources

and final mitigation and community enhancements.” AR 5141. The EJ report disclosed both the

adverse impacts and benefits of the Project on the identified EJ communities. AR 5227. For air

quality specifically, FHWA noted that the study area for the Project is within the EPA’s

attainment area for CO and PM2.5, and thus analysis of these pollutants was not required.

Nevertheless, a CO analysis was conducted “for transparency and informational purposes.” AR

5232-33. FHWA concluded, using “very conservative assumptions,” that the worst-case

interchanges and intersections for each alternative analyzed “would not cause or contribute to a

violation of the CO NAAQS within the study corridor.” AR 5233. No further Project-level air

quality analysis was required, and thus any more granular level of analysis on a local level was

not required. Id. FHWA also explained that “due to industry-wide limitations in tools/techniques

for measuring project-specific health outcomes, detailed air quality effects on public health

cannot be projected for any specific location.” Id. FHWA did disclose, as noted above, that EJ

communities with high EJ Index scores may experience air quality impacts “more acutely” than

populations with lower scores. AR 5234.

       Together with the technical report specifically addressing environmental justice

communities discussed above, FHWA also prepared a more than 80-page technical report

addressing both indirect and cumulative effects of the Project. AR 21108-21193 (Appendix Q,



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Final Indirect and Cumulative Effects Technical Report (“Cumulative Effects Report”)). The

Cumulative Effects Report specifically analyzes cumulative impacts to EJ communities,

concluding that “the overall impact to environmental justice populations has been greatly

reduced” with the Preferred Alternative. AR 21159. FHWA also concluded that “effects to

human health and safety, air quality” and other impacts “would be distributed consistently

throughout the study corridor and would be mitigated to the greatest extent applicable.” AR

21160. As a result, “physical impacts and effects to other environmental characteristics would

not be considered disproportionately high or adverse in potential EJ populations.” Id. Although

FHWA acknowledged that “past, present, and future projects would likely have impacts to

potential EJ populations,” the project “is not expected to contribute substantially to the

incremental impact on these populations.9 Id.

       Plaintiffs suggest that qualitative analysis is insufficient under NEPA. Pls.’ Mem. 35. But

there is no hard and fast rule requiring quantitative analysis. See Ohio Valley Env’t Coal., Inc. v.

U.S. Army Corps of Eng’rs, 716 F.3d 119, 129 (4th Cir. 2013); see also Hughes River Watershed

Conservancy v. Johnson, 165 F.3d 283, 288 (4th Cir. 1999) ((“[A]n agency takes a sufficient

‘hard look’ when it obtains opinions from its own experts, obtains opinions from experts outside

the agency, gives careful scientific scrutiny and responds to all legitimate concerns that are

raised.”) (citing Marsh, 490 U.S. at 378-85). FHWA’s 86-page ICE Technical report (FEIS App.

Q), more than 100-page report addressing environmental justice communities (FEIS App. K), its

coordinating meetings with EPA, FTA, MDOT SHA, and others, as well as multiple public

meetings and comment periods through the DEIS, SDEIS, and FEIS process demonstrate that the



9 FHWA also concluded that the Project would benefit Environmental Justice communities

through increased mobility and improved bicycle and pedestrian access, toll-free travel for transit
vehicles, and enhanced connections to transit centers. AR 651.
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agency sufficiently discussed and gave appropriate consideration to the cumulative impacts of

the Project, including to EJ communities.

       Although Plaintiffs may not agree with FHWA’s conclusions about potential impacts,

their disagreement does not mean that FHWA failed to take a hard look or that their decision was

in any way arbitrary or capricious. Myersville Citizens for a Rural Cmty., Inc. v. FERC, 783 F.3d

1301, 1325 (D.C. Cir. 2015); see also Conservation Nw. v. Rey, 674 F. Supp. 2d 1232, 1249

(W.D. Wash. 2009) (finding “court need not decided whether” the agency considered the “best

scientific methodology available, nor does NEPA require a court to resolve disagreements

among various scientists as to methodology” and “mere difference of opinion or disagreement

with a conclusion is insufficient, under NEPA, to overturn agency action”) (citations omitted).

Plaintiffs cannot use the NEPA hard look standard to resolve a substantive disagreement with the

agency’s decision and the court should reject their efforts to “use review of an agency's

environmental analysis as a guise for second-guessing substantive decisions committed to the

discretion of the agency.” Nat’l Audubon Soc’y, 422 F.3d at 185; see also Friends of Pine Street

v. Everett, No. 5:19-cv-95-GWC, slip op. at 55-56 (D. Vt. May 16, 2023) (“It is not the court’s

place in a NEPA review to substitute its own judgment about whether the benefits [of a project]

outweigh the projected increase in traffic . . . . What matters to the court is whether the agencies

have adequately considered the impact of these decisions.”). Having thoroughly considered

impacts to environmental justice communities, FHWA satisfied its obligations under NEPA.

       C.      FHWA Ensured The Traffic Modeling Met All Required Standards,
               Provided Enough Information To Allow Informed Participation, And
               Responded To All Reasoned Comments

       At every step of the NEPA process, FHWA ensured that the traffic modeling met

industry and scientific standards. The agencies responded to and disclosed all substantive



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comments Sierra Club and others made on traffic models—indeed, MDOT SHA even adjusted

some inputs to the models as a result. And when commenters questioned the scientific integrity

of the modeling, FHWA took those allegations seriously. It sent the modeling outside of FHWA

to experts at the Department of Transportation’s Volpe Center to investigate the claims. The

Volpe Center found no evidence of fraud. FHWA then ensured MDOT SHA provided

satisfactory explanations to specific issues the Volpe Center raised before approving the ROD.

       Plaintiffs assert that FHWA’s actions nevertheless did not satisfy its NEPA duties by

failing to adequately respond to comments, failing to adequately explain alterations it made to

the traffic models, and failing to provide the modeling files for the project. Pls.’ Mem. 36-41.

The record does not support Plaintiffs’ arguments.

               1.      The Agencies Responded to the Comments Submitted
       Plaintiffs first argue that the agencies failed to adequately respond to their comments

about traffic modeling. Pls.’ Mem. 37-39. Sierra Club submitted comments on each of the DEIS,

SDEIS, and FEIS. The agencies responded to Sierra Club’s hundreds of pages of comments

individually and produced the comments in full. AR 22945-23041; AR 164-212. All three rounds

of comments included sections on traffic modeling, and the agencies addressed those issues.

       In response to Sierra Club’s 174-page SDEIS comment letter, the agencies “carefully

reviewed” Sierra Club and its consultant’s comments about “traffic modeling, theories, and

data,” which are topics within FHWA’s and MDOT SHA’s “traditional expertise.” AR 23037.

Although Sierra Club and its consultants rejected all of the metrics in the Project analysis as

“invalid,” AR 158586, the agencies’ experts “remain[ed] confident in the state-of-the-art traffic

impacts methodology employed for the MLS [Project]” after their review. AR 23037. By

obtaining “opinions from its own experts” and responding to the commenters’ “concerns,” the

agencies took the required “hard look.” Hughes River, 165 F.3d at 288.

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       All the comments Plaintiffs raise in their brief focus on specific metrics: capacity,

throughput, and demand.10 In response to comments on demand, the agencies rejected Sierra

Clubs’ critique because it would have required that the Project “analysis assume[] zero growth

for the No Build Alternative as a result of likely gridlock conditions.” AR 23037. Explaining

why that assumption was unreasonable, the agencies pointed to “clear projected increases in

regional population and employment that can certainly increase demand for mobility, even if

congestion conditions worsen under the No Build scenario.” AR 23037. As to capacity, the

agencies pointed to the portions of the documents that discuss latent and induced demand, AR

23038, because in Appendix B of Sierra Club’s comments, Sierra Club disagreed with the

agency’s determination that “over-capacity MWCOG model forecasts can be used to quantify

latent demand.”11 AR 158618; AR 22975. Finally, for throughput, MDOT SHA agreed that

certain critiques had “merit.” AR 23038. As a result, MDOT SHA reevaluated and updated

throughput tables to “address[] the concerns identified.” AR 23038.

       Plaintiffs acknowledge these responses but disagree with their conclusions. Pls.’ Mem.

37-39. But “that disagreement does not render [FHWA]’s review and comment process

improper.” Earth Island Inst. v. Carlton, 626 F.3d 462, 473 (9th Cir. 2010). As the agencies

explained, “while the comments’ mischaracterization of the analysis, conclusion and its rejection




10 “Throughput represents the number of vehicles . . . that pass by a given point in the roadway

network in a set amount of time.” AR 768. Demand refers to either latent demand—“people who
want to use I-495 or I-270 during the peak hours, but do not because of the congestion,”—or
induced demand—people who take trips that they otherwise would not have “without capacity
improvements.” Capacity is how many cars can fit on a road. AR 778.

11 Contrary to Plaintiffs’ assertions, the Volpe Center’s findings do not support their claims that

MDOT’s model “defies common sense” as to traffic volumes. Pls.’ Mem. at 38. The Volpe
Center found that the changes to the FEIS model resulted in “more realistic levels” of delays as
compared to the SDEIS results. AR 138.
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of the long-standing practice of federal, regional and state expertise is not accepted, each of their

comments were seriously considered.” AR 23037. After that serious consideration, the agencies

modified certain analyses, made factual corrections, and explained why the comments did not

warrant further agency response. See 40 C.F.R. § 1503.4. “Though [FHWA] did not perform the

point-by-point type of counterargument to experts that Plaintiffs appear to desire,” that was not

required under NEPA. Earth Island Inst. v. U.S. Forest Serv., 697 F.3d 1010, 1021 (9th Cir.

2012); see also Marsh, 490 U.S. at 378 (“When specialists express conflicting views, an agency

must have discretion to rely on the reasonable opinions of its own qualified experts even if, as an

original matter, a court might find contrary views more persuasive.”).

       Because courts are not in a position to decide the “propriety of competing

methodologies” in the transportation analysis context, they instead should “simply deternin[e]

whether the [agency]’s choice of methodology had a rational basis, consistently applied, taking

relevant considerations into account.” Druid Hills Civic Ass’n, Inc. v. Fed. Highway Admin., 772

F.2d 700, 711 (11th Cir. 1985). That is “especially” true “in matters involving not just simple

findings of fact but complex predictions based on special expertise,” which is when “a reviewing

court must generally be at its most deferential.” Aracoma Coal, 556 F.3d at 192 (quotations

omitted). Here, the agencies ensured that opposing viewpoints were considered, accepted

suggested changes that had merits, and rejected those that its experts disagreed with. There is “no

doubt that [FHWA] gave full and fair consideration to each comment received.” Sierra Club v.

Adams, 578 F.2d 389, 394 (D.C. Cir. 1978).

               2.      The Changes Made to the Model Were Minor and Adequately
                       Explained

       Plaintiffs next argue that the agencies failed to explain changes that were made to the

model between the SDEIS and the FEIS. Pls.’ Mem. 39-40. In the FEIS, the agencies noted the


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updates to the traffic analysis, including “forecast refinements to address comments received on

the SDEIS.” AR 317. In response to these changes, several organizations, including Sierra Club,

commented on the FEIS, and those comments were responded to and included in the ROD. In

response, MDOT SHA noted those comments were “not based in fact and appear to be based on

a misunderstanding of how data was updated and refined” between the SDEIS and the FEIS. AR

171; AR 130.

       The change in modeling inputs is the same issue raised by the Maryland Transit

Opportunities Coalition. The Volpe Center attributed the differences in the SDEIS and FEIS

models to “minor changes in the analyses conducted for those two documents and inherent

limitations of the modeling process used by [MDOT] to analyze the project’s impacts on traffic

volumes and travel times.” AR 137; accord AR 138-39. And although the Volpe Center

suggested that two issues deserved a more detailed response, AR 139, MDOT SHA—at the

request of FHWA—addressed those issues and provided a full explanation in the ROD. AR 140.

Thus, before finalizing the ROD, FHWA ensured the commenters’ “opposing viewpoint was

fully considered in the internal decisionmaking process.” Ground Zero Ctr. for Non-Violent

Action v. United States Dep’t of Navy, 860 F.3d 1244, 1256 (9th Cir. 2017) (holding failure to

disclose agency risk assessment harmless where record showed agency internalized opposing

viewpoints into the decisionmaking process). FHWA therefore satisfied NEPA.

               3.      The Necessary Data was Reasonably Available

       Finally, Plaintiffs contend that the agencies refused to provide data necessary for their

review. Pls.’ Mem. 41. They argue that NEPA’s public participation requirements demand the

agency make public all underlying data, including the modeling files for the traffic analysis. Id.




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         Sierra Club submitted multiple requests for modeling files,12 asking not only for the

computer files, but also emails, reports, and memorandums. AR 175918-19. They made those

requests even though much of the data underlying the traffic models was publicly available. AR

189588. Because of the “massive request,” MDOT SHA charged for the “time incurred to

prepare, search, and review documents after the first two hours of work” as allowed under

Maryland Public Information Act. AR 189589. But Sierra Club insisted that was not enough. AR

178712.

         NEPA requires that the public receive underlying “environmental data” from which the

agency’s expert derives their opinion about the impacts of the proposed project. Idaho Sporting

Cong. v. Thomas, 137 F.3d 1146, 1150 (9th Cir. 1998) (overruled on other grounds by The Lands

Council v. McNair, 537 F.3d 981 (9th Cir. 2008)). But that obligation is only “to make

information reasonably available to the public.” Friends of Cap. Crescent Trail v. Fed. Transit

Admin., 255 F. Supp. 3d 60, 67 (D.D.C.), aff’d, 877 F.3d 1051 (D.C. Cir. 2017). NEPA does not

require the agencies to provide every file and data point used for its complex modeling.

Providing detail about the models used and the ultimate quantitative findings “is the ‘underlying

environmental data’ that NEPA requires.” Coal. for Healthy Ports v. U.S. Coast Guard, No. 13-

5347, 2015 WL 7460018, at *16 (S.D.N.Y. 2015) (quoting Idaho Sporting Cong., 137 F.3d at

1150).

         Based on the information provided in the environmental documents, the public had

adequate information to check the agency’s work. Indeed, multiple groups submitted comments

challenging the traffic models and the inputs, all without the modeling files. “They only needed



12 Early on, Sierra Club sought the computer files from FHWA. Because FHWA did not have the

files requested in its record, FHWA directed their request to MDOT SHA and told them where
they could find the publicly available data. AR 136264.
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the . . . findings . . . on which [FHWA’s] conclusion actually turned. The law does not require

more.” Coal. for Healthy Ports, 2015 WL 7460018, at *16.

        And while that information alone satisfied the agencies’ obligations, much of the data

requested was publicly available in the draft and final environmental documents. See AR

702-1501 (FEIS); AR 27919-28126 (SDEIS); AR 36588-38113 (DEIS). That the publicly

available data was not in Sierra Club’s preferred format does not mean they were unavailable.

AR 135914. Indeed, the choice of format for publicly available data is left to agency discretion.

See Ecology Ctr. v. Castaneda, 574 F.3d 652, 667–68 (9th Cir. 2009) (“We defer to an agency’s

choice of format for scientific data.”); see also League of Wilderness Defenders—Blue

Mountains v. U.S. Forest Serv., 549 F.3d 1211, 1218 (9th Cir. 2008) (“It is not for this court to

tell the Forest Service what specific evidence to include, nor how specifically to present it.”).

“[T]he format of the data has not apparently impaired [Plaintiffs]’ ability to bring legal

challenges.” Castaneda, 574 F.3d at 667–68. Plaintiffs therefore cannot show they were

precluded from meaningful participation, and thus no NEPA violation occurred.

III.    FHWA Has Not Violated Section 4(f) Or Section 106

        Plaintiffs contend that FHWA violated Section 4(f) and Section 106 as to two of the

properties eligible for study and protection under those statutes: Morningstar Cemetery and

Plummers Island. Because the record shows FHWA followed the statutory requirements and

made the required findings, the Court should reject Plaintiffs’ claims.

        A.     The Agencies’ Section 4(F) And Section 106 Findings For The Morningstar
               Cemetery Are Supported By The Record And The Law

        Plaintiffs Friends of Moses Hall, Sierra Club, and National Trust for Historic

Preservation contend that, as to the Morningstar Cemetery, the agencies improperly deferred the

Section 4(f) determination and failed to make the required assessments under Section 106. Pls.’


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Mem. 48-52. But in making that argument, Plaintiffs confuse and conflate the separate Section

4(f) and Section 106 conclusions and overlook the reasonable and good-faith efforts by the

agencies.

               1.      Plaintiffs Confuse the Section 4(f) “Use” Determination and the
                       Section 106 “Effects” Determination
       In arguing that the agencies “deferred” the Section 4(f) determination for the Morningstar

Cemetery, see Pls.’ Mem. 48-52, Plaintiffs confuse the separate conclusions made for Section

4(f) and Section 106. Contrary to Plaintiffs’ assertions, FHWA did not defer the Section 4(f)

determination of whether the Project would “use” the Morningstar Cemetery property. As stated

in the Final Section 4(f) Evaluation and described in the ROD, FHWA determined that the

preferred alternative avoids impacts to Morningstar Cemetery. AR 31; see also AR 5637.

       The Section 106 process, on the other hand, was adhered to through a Programmatic

Agreement (“PA”). AR 45. FHWA and MDOT SHA initially determined that, under Section

106, there would be no adverse effects to the Morningstar Cemetery from the Project. But after

the Maryland Historical Trust did not concur with that finding, the agencies agreed that a final

Section 106 determination of the effects, if any, to the Morningstar Cemetery would be deferred

through the PA until further investigations were completed. AR 396; see 36 C.F.R. § 800.4(b)(2)

(“The agency official may also defer final identification and evaluation of historic properties if it

is specifically provided for in . . . a programmatic agreement.”). The agreement details how those

investigations will occur and what steps the agencies must take if additional burials are

discovered. AR 14298-99.

       The same Section 4(f) and Section 106 approach was taken in HonoluluTraffic.com v.

Federal Transit Administration, 742 F.3d 1222 (9th Cir. 2014). There, a proposed transit service

project in Oahu’s corridor passed near several historic sites, including potential Native Hawaiian


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burial sites. Id. 1225-27. The court found that, although the defendants did not conduct surveys

to identify and evaluate the undiscovered Native Hawaiian burial sites along the entire length of

the Project before its approval—even though construction was likely to disturb some of those

sites— the defendants had not violated Section 4(f). Id. at 1233-34. No violation occurred

because “[b]urial sites are eligible for Section 4(f) protection only insofar as they are identified

under the Section 106 process for identifying historic sites.” Id. at 1234. The defendants “made a

good faith and reasonable effort to identify known archaeological sites along the proposed

Project route and . . . developed an appropriate plan for dealing with sites that may be discovered

during construction” under Section 106 and therefore complied with Section 4(f). Id.

       2.      The Record Supports FHWA’s Section 4(f) and Section 106 Conclusions
       The agencies’ Section 4(f) and Section 106 conclusions are supported by the record. As

in HonoluluTraffic.com, the agencies made a “good faith and reasonable effort” to identify

potential burials. The agencies removed vegetation that impeded investigations, conducted radar

surveys, and researched historical records. Through that process, they were able to determine the

historic boundary of the Morningstar Cemetery and make design changes to avoid impacts to that

property under Section 4(f).

       The historic boundary of the Morningstar Cemetery is well supported. MDOT SHA used

a combination of field work, AR 13913, GPR surveys, AR 27458, and historic research, final

4(f) eval, to discover its contours. As shown in the picture below, MDOT SHA created an

overlay of the Project’s limits of disturbance (green line), ground-penetrating radar data (yellow

overlay), and a historic 1957 aerial of the property (shortly before Beltway construction). The

picture shows the location of Moses Hall (marked in red) and the historic road that pre-dated the

Beltway (north of Moses Hall). From that information, the agencies determined “that the burials

are likely bounded by the historic . . . road running to the west and curving north on the western

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portion of the property.” AR 6021. The historic boundary includes the possible burials in the

state-owned right-of-way. Following that work, FHWA and the relevant agencies agreed with

MDOT SHA’s conclusion on the historic property boundaries. AR 396.




   1957 Aerial, GPR, and LOD Overlay, AR 6029

       Although the agencies did not conduct surveys over every area in the state-owned right-

of-way, “there was a good reason for [their] reluctance to conduct the surveys.”

HonoluluTraffic.com, 742 F.3d at 1234. The cemetery’s soil type can affect the quality of data

from the radar survey, so the existence and location of burials “can only be confirmed through

subsurface investigations.” AR 13915-16. And because the Project limits of disturbance “is

within or North of [the] historic road bounding feature, potential is low for additional burials.”

AR 6021. Given that information, the agencies made the reasoned choice to defer any

disturbance of the remaining areas until after Project approval.


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         And the PA resolves the Section 106 process. Before entering into the PA, the agencies

determined that there would be no adverse effects—including any cumulative effects. The

agencies ultimately decided to defer a final effects determination, however, and the PA was

entered into to resolve the process. 36 C.F.R. § 800.4(b)(2); 36 C.F.R. § 800.14(b) (“[A]gency

official may negotiate a programmatic agreement to govern . . . the resolution of adverse

effects.”); see also City of Alexandria v. Slater, 198 F.3d 862, 871 (D.C. Cir. 1999) (noting the

“usual product” of the Section 106 process is an “ agreement upon how the detrimental effects will be

‘taken into account.’”). The PA includes a treatment plan that specifies the methods, limits, and

consultation procedures for further investigation of areas with the potential for additional burials

outside the current historic boundary. AR 14288, 14296, 14298-99. Following completion of the

other investigations specified in the PA and treatment plan, a final identification and

determination of the effects to Morningstar Cemetery will be made in compliance with the

Section 106 process. AR 399.

         B.     FHWA’s Least Overall Harm Analysis For The American Legion Bridge Is
                Reasonable And Supported By The Record
         Plaintiffs NRDC, Sierra Club, and National Trust for Historic Preservation do not

challenge FHWA’s determination that there was no prudent or feasible alternative that would

avoid the use of all Section 4(f) property. Pls.’ Mem. at 55. They instead argue that the agencies

disregarded a bridge alignment that would have avoided Plummers Island altogether. Id. at

55-59.

         “If there are no feasible and prudent alternatives to using Section 4(f) property, the

Secretary may select only the alternative that ‘causes the least overall harm in light of Section

4(f)’s preservation purpose.’” Defs. of Wildlife, 762 F.3d at 400–01 (quoting 23 C.F.R.

§ 774.3(c)(1)) (alternations omitted).


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       This determination involves balancing several factors, including: (1) the “ability
       to mitigate adverse impacts”; (2) the relative severity of the harm after mitigation;
       (3) the relative significance of the Section 4(f) property; (4) the “views of the
       official(s) with jurisdiction over each Section 4(f) property”; (5) the “degree to
       which each alternative meets the purpose and need for the project”; (6) “[a]fter
       reasonable mitigation, the magnitude of any adverse impacts to resources not
       protected by Section 4(f)”; and (7) “[s]ubstantial differences in costs among the
       alternatives.”

Id. at 401 (quoting 23 C.F.R. § 774.3(c)(1)(i)-(vii)). Plaintiffs assert that the agencies failed to

make specific findings on each individual factor it considered when they rejected the west

alignment for the American Legion Bridge. That argument, however, is not supported by the

record and is based on an overly formulistic reading of Section 4(f)’s requirements.

       Section 4(f) does not require “formal findings.” Overton Park, 401 U.S. at 409. And

“regardless of whether the reports and studies use the ‘magic’ terminology’” or explicit findings,

“a court reviewing the Secretary’s decision fulfills its duty if it determines that the Secretary

considered all relevant factors and standards and it reasonably and thoroughly reviews the

voluminous record accumulated over a long period of time.” Hickory Neighborhood Def. League

v. Skinner, 731 F. Supp. 207, 214 (W.D.N.C.), aff’d, 910 F.2d 159 (4th Cir. 1990); accord Adler

v. Lewis, 675 F.2d 1085, 1095 (9th Cir. 1982) (“[E]ven under the exacting § 4(f) requirements,

the judicial branch may not ‘fly speck,’ if it appears, in its review, that all factors and standards

were considered.”). The record here supports FHWA’s thorough review of the relevant factors

and the reasonableness of FHWA’s decision.

       After publishing the DEIS, the agencies undertook “considerable avoidance and

minimization . . . to the NPS properties around the [American Legion Bridge].” AR 369. The

agencies consulted NPS and heeded its request to reassess the bridge design and limits of

disturbance “to limit impacts to NPS land and its natural and cultural resources.” Id. The

agencies then created a “Strike Team,” composed of national and local experts on bridge design,


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natural resources, and cultural resources. Their stated goal was to find the alignment that would

avoid the most parkland in the area:

       To develop and evaluate alternatives for the replacement of the ALB to avoid
       impacts, to the greatest extent practicable, and reduce overall acreage impacts to
       the Chesapeake and Ohio Canal National Historical Park (Chesapeake and Ohio
       Canal NHP) and George Washington Memorial Parkway units of the NPS.

Id. “An additional goal of the Strike Team was to develop and evaluate alternatives for

the avoidance and minimization of Plummers Island.” Id. The Strike Team looked at

several different bridge alignments and construction methods in its attempts to avoid

resources. Among the options considered were the on-center alignment that was

ultimately chosen, and Plaintiffs preferred “west shift alignment.”

       Based on the results of the Strike Team investigations, the agencies selected the

on-center alignment. The agencies quantified the impacts to NPS properties, AR 17692,

and found that “the on-center alignment would impact the least amount of total NPS

Land.” AR 17702. The on-center alignment would impact less total NPS parkland and

result in fewer impacts to trees, wetlands, and forest canopy. AR 17692. The west shift

alignment would have also required “residential displacement” and a “re-configuration of

the Clara Barton Parkway interchange.” AR 17702. 13 In all, the on-center alignment “will

result in approximately 0.28 acres of impacts to the Island, of which less than 0.1 acres

would be permanent impact and 0.27 acres would be temporary impact.” AR 644.

Looking at all these factors, the agencies determined the west shift alignment would not

minimize harm to these important resources. “If the route does not minimize harm, it

need not be selected.” Audubon Naturalist Soc’y, 524 F. Supp. 2d at 683-84.



13 The agencies created a visual impact map depicting the comparison of impacts between

the base and west shift options. See AR 17695.
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       Contrary to Plaintiffs’ assertions, FHWA acknowledged the scientific and

historical significance of Plummers Island and the Washington Biologists’ Field Club.

FHWA recognized the Washington Biologists’ Field Club’s “significant . . . contributions

to science and conservation as the site of long-term scientific studies conducted by the

club.” AR 403. And they internalized the impacts that would occur to Plummers Island:

“proposed construction activities at the western edge of Plummers Island will alter the

natural landscape of the island, a character-defining feature of the Washington Biologists’

Field Club, resulting in diminishment of the property’s integrity of setting.” AR 403. And

the Strike Team considered the costs. The Strike Team noted that although the west-shift

alignment could save cost and time for construction, the “added expense for shifting the

roadway approaches and adjacent Clara Barton Parkway interchange . . . could quickly

negate these cost and schedule benefits.” AR 198378; see also AR 198391.

       In sum, the agencies engaged “in a broad consideration of the relative harm” arising

from the various alignments and selected the alignment they determined, after consulting

NPS, that caused the least total harm. See Coal. On Sensible Transp. Inc. v. Dole, 642 F.

Supp. 573, 603 (D.D.C. 1986), aff’d, 826 F.2d 60 (D.C. Cir. 1987) (discussing Section

4(f)(2) balancing process). Plaintiffs would have this Court disregard that record and vacate

the agencies’ reasoned and supported decision because they did not include the west

alignment in its formal least harm analysis. “But federal courts are neither empowered nor

competent to micromanage strategies for saving the nation’s parklands.” Citizens Against

Burlington, Inc. v. Busey, 938 F.2d 190, 204 (D.C. Cir. 1991). The agencies made a

reasoned choice to select the alternative that did the least overall harm to parkland—and




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residential property—in the area. The Court should therefore uphold that decision and grant

the Federal Defendants’ motion as to Section 4(f).

                                        CONCLUSION

       For all these reasons, the Court should enter summary judgment for the Federal

Defendants.



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                                             Respectfully submitted,

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